      Case 8-18-77650-ast       Doc 15        Filed 12/14/18   Entered 12/14/18 15:07:32
                                                           tmd3574/mrm
 UNITED STATES BANKRUPTCY COURT                            January 3, 2019
 EASTERN DISTRICT OF NEW YORK                              09:30 AM
 ==================================X
 IN RE:                                                    Case No. 818-77650-AST

 RAYMOND J. CASSIDY,                                       Hon. ALAN S. TRUST

                                                           NOTICE OF MOTION
                  Debtor.
 ==================================X


               PLEASE TAKE NOTICE, that upon the within application, Marianne DeRosa,
Chapter 13 Trustee will move this court before the Hon. Alan S. Trust, U.S. Bankruptcy Judge, at
the United States Bankruptcy Court, at 290 Federal Plaza, Room 963, Central Islip, New York,
11722, on January 3, 2019 at 09:30 AM or as soon thereafter as counsel can be heard, for an
order pursuant to 11 U.S.C. 1307(c) dismissing this Chapter 13 case and for such other and
further relief as may seem just and proper.
                Responsive papers shall be filed with the bankruptcy court and served upon the
Chapter 13 Trustee, Marianne DeRosa, Esq., no later than seven (7) business days prior to the
hearing date set forth above. Any responsive papers shall be in conformity with the Federal Rules
of Civil Procedure and indicate the entity submitting the response, the nature of the response and
the basis of the response.

Date: Jericho, New York
      December 14, 2018

                                                      /s/ Marianne DeRosa
                                                      MARIANNE DeROSA, TRUSTEE
                                                      125 JERICHO TURNPIKE; STE 105
                                                      JERICHO, NY 11753
                                                      (516) 622-1340
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 UNITED STATES BANKRUPTCY COURT                              January 3, 2019
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 ==================================X
 IN RE:                                                      Case No: 818-77650-AST

 RAYMOND J. CASSIDY,                                         Hon. ALAN S. TRUST

                                                             APPLICATION
                  Debtor.
 ==================================X


TO THE HONORABLE ALAN S. TRUST U.S. BANKRUPTCY JUDGE:

       MARIANNE DEROSA, Chapter 13 Trustee in the above-captioned estate, respectfully
represents the following:

       1. The Debtor filed a petition under the provisions of 11 U.S.C. Chapter 13 on November
13, 2018, and, thereafter, MARIANNE DEROSA was duly appointed and qualified as Trustee.

         2. The Debtor’s proposed Chapter 13 Plan (hereinafter referred to as “the Plan”) is dated
October 22, 2018 and provides for payments in the amount of $1,645.00 per month for a period
of sixty months.

       3. The Plan also provides that the Debtor’s pre-petition mortgage arrears owed to
Embrace Home Loans, secured by the real property located at 17 Foxcrost Street, Mastic, NY will
be capitalized pursuant to a loan modification agreement.

       4. Pursuant to United States Bankruptcy Court for the Eastern District of New York for the
Eastern District of New York General Order No. 543 as amended by General Order No. 582, this
Court does not participate in the Loss Mitigation Program.

       5. As such, the Trustee objects to the confirmation of the Plan because the Plan is not
adequately funded to provide for full repayment to all secured creditors as required by 11 U.S.C
§ 1325(a)(5).

     6.       Furthermore, the Debtor has failed to commence making Chapter 13 Plan
payments to the Trustee as required by 11 U.S.C. § 1326(a)(1).

       7.      The Debtor’s failure to provide these items impedes the Trustee’s ability to
administer this case and, therefore, is a default that is prejudicial to the rights of the creditors of
the Debtor pursuant to 11 U.S.C. §1307(c)(1).

      8.      Each of the foregoing constitutes cause to dismiss this Chapter 13 case within
meaning of 11 U.S.C. §1307(c).

        WHEREFORE, the Chapter 13 Trustee respectfully requests that this Court enter an
Order dismissing this Chapter 13 case and for such other and further relief as may seem just and
proper.

Dated: Jericho, New York
       December 14, 2018
                                                               s/Marianne DeRosa
                                                               Marianne DeRosa
                                                               Chapter 13 Trustee
       Case 8-18-77650-ast               Doc 15        Filed 12/14/18    Entered 12/14/18 15:07:32



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------X   Case No: 818-77650-AST
IN RE:

 RAYMOND J. CASSIDY,

                                                                        CERTIFICATE OF SERVICE
                                                                             BY MAIL
                                       Debtor.
-----------------------------------------------------------X

               This is to certify that I, Matthew R. Matz, have this day served a true, accurate and
correct copy of the within Notice of Motion and Application by depositing a true copy thereof
enclosed in a post-paid wrapper, in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State, addressed to each of the following persons at the
last known address set forth after each name:

RAYMOND J. CASSIDY
17 FOXCRAFT STREET
MASTIC, NY 11950

RICHARD L STERN, PC
ATTN: COOPER J MACCO, ESQ.
2950 EXPRESS DRIVE SOUTH, STE 109
ISLANDIA, NY 11749

ROUNDPOINT MORTGAGE SERVICING
SCHILLER, KNAPP, LEFKOWITZ & HERTZEL LLP
950 NEW LOUDON SUITE 109
LATHAM, NY 12110




This December 14, 2018


/s/Matthew R. Matz
Matthew R. Matz, Paralegal
Office of the Standing Chapter 13 Trustee
Marianne DeRosa, Esq.
125 Jericho Turnpike; Suite 105
Jericho, NY 11753
(516) 622-1340
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CASE NO: 818-77650-AST
Hon. ALAN S. TRUST

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
========================================================================
IN RE:

RAYMOND J. CASSIDY,


                  Debtor.
=======================================================================

            NOTICE OF MOTION AND APPLICATION TO DISMISS CASE

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                           MARIANNE DeROSA, TRUSTEE
                         125 JERICHO TURNPIKE; SUITE 105
                                JERICHO, NY 11753
                                  (516) 622-1340
